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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE



    IN RE: VALSARTAN, LOSARTAN, MDL No. 2875
    AND IRBESARTAN PRODUCTS
    LIABILITY LITIGATION        Honorable Robert B. Kugler,
                                District Court Judge


    This Document Relates to All Actions


                         CASE MANAGEMENT ORDER NO. [ __]

          THE SPECIAL MASTER HAVING CONSIDERED at this Multi District Litigation

   [“MDL”] Biweekly Discovery Conference held May 17, 2023, the parties’ proposed agreed

   extension regarding the deadline set in Section 2.0 of the Case Management Order [“CMO”] 32

   (Doc. No. 2343), for Defendants to submit their responses to the proposed class notice program,

   that IT IS HEREBY ORDERED this ___ Day of May, 2023, that the deadline for Defendants to

   respond to the class notice program shall be as follows:

      •   By 26 May 2023, defendants shall submit their responses to the proposed program.

          ORDERED this ___ day of May, 2023.



                                                _____________________________
                                                The Honorable Robert B. Kugler
                                                United States District Judge
